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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

AMERICAN ASSOCIATION OF
COLLEGES FOR TEACHER
EDUCATION, ET AL

                    Plaintiffs,
                                                    Civil Action No. 25-cv-00702-JRR
          v.

LINDA MCMAHON,
AS SECRETARY OF EDUCATION, ET AL

                    Defendants.



                    DECLARATION OF JOSHUA W. B. RICHARDS, ESQ.


I, JOSHUA W.B. RICHARDS, declare as follows:

          1.   I am admitted pro hac vice in this Court in connection with the above-captioned

matter.

          2.   I am a partner at the law firm Saul Ewing LLP, counsel for Plaintiffs the American

Association of Colleges for Teacher Education, the National Center for Teacher Residencies, and

the Maryland Association of Colleges for Teacher Education (collectively, “Plaintiffs”).

          3.   I submit this declaration in support of Plaintiffs’ Response in Opposition to

Defendants’ Emergency Motion for Reconsideration.

          4.   In support of Plaintiffs’ Response in Opposition to Defendants’ Emergency Motion

for Reconsideration, I attach a true and correct copies of the following exhibit:

               a.       Exhibit A: Email exchange between counsel for Plaintiffs and counsel for

                        Defendants dated March 3, 2025 at 6:21 p.m. serving Plaintiffs’ Complaint
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                      and Motion for Temporary Restraining Order/Preliminary Injunction filed

                      in this litigation.

       I declare that the foregoing is true and correct.


Executed on the 19th day of March, 2025            Respectfully
                                                      p       y Submitted,,


                                                   Joshua W.B. Richards (Admitted Pro Hac Vice)
                                                   SAUL EWING LLP
                                                   1500 Market Street, 38th Floor
                                                   Philadelphia, Pennsylvania 19102
                                                   Tel: (215) 972-7737
                                                   joshua.richards@saul.com
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            EXHIBIT A
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From:           Moore, Daniel M.
To:             pardis.gheibi@usdoj.gov; Micco, Megan (USAMD); molissa.farber@usdoj.gov
Cc:             Richards, Joshua W. B.; Toll, Carolyn M.
Subject:        American Association of Colleges for Teacher Education et al v. Carter et al (25-cv-00702)
Date:           Monday, March 3, 2025 6:21:29 PM
Attachments:    image001.png
                image002.png
                image003.png
                image004.png
                image005.png
                2025-03-03 [01] NCTR - Complaint.pdf
                2025-03-03 [05] NCTR- Motion for TRO_PI.pdf



All,

Please note the attached complaint, motion for temporary restraining order and/or preliminary
injunction, and supporting documents that were filed in the United States District Court for the
District of Maryland.

You are receiving these as counsel of record in the related case, National Association of
Diversity Officers in Higher Education et al v. Trump et al, No. 1:25-cv-00333-ABA. Proper
service is underway, but I am sharing these courtesy copies for convenience.

Thank you.

Best,
Daniel


                     Daniel M. Moore
                     Associate
                        (410) 332-8734
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                             Read my bio >>


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